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           IN THE UNITED STATES DISTRICT COURT
         FOR THE SOUTHERN DISTRICT OF NEW YORK

   WAYNE BALIGA,

                         Plaintiff,

          v.
                                                          No. 1:18-cv-11642-VM-DCF
   LINK MOTION INC. (f/k/a/ NQ MOBILE
   INC.), VINCENT WENYONG SHI,
   ROLAND WU, and ZEMIN XU,

                         Defendants.

             RECEIVER’S RESPONSE TO PLAINTIFF’S MOTION
     FOR RECEIVER TO EFFECTUATE CONVERSION OF PLAINTIFF’S ADRs

       This response is submitted on behalf of Robert Seiden (the “Receiver”), who was appointed

by this Court to serve as Temporary Receiver for Link Motion Inc. (the “Company”) by an order

dated February 1, 2019 (ECF 26) (the “Receivership Order”). As further explained below, the

Receiver does not object to Plaintiff’s Motion for the Receiver to Effectuate Conversion of

Plaintiff’s ADR (ECF 200) (the “Motion”), but seeks guidance from the Court as to whether the

Receiver has the authority to authorize the conversion of Plaintiff’s American Depositary Receipts

(“ADRs”) as sought through the Motion.

       As a threshold matter, the Receiver is an officer of the Court, and his authority is derived

entirely from the Court. See Booth v. Clark, 58 U.S. 322, 331 (1854) (“The receiver is but the

creature of the court; he has no powers except such as are conferred upon him by the order of his

appointment and the course and practice of the court [].”); Ledbetter v. Farmers Bank & Trust Co.,

142 F.2d 147, 150 (4th Cir. 1944) (“It is well recognized that a receiver is the agent only of the

court appointing him; he represents the court rather than the parties.”); 12 Charles Alan Wright &

Arthur R. Miller, Federal Practice and Procedure § 2981 (3d ed. 2020) (“The receiver is
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considered to be an officer of the court, and therefore not an agent of the parties[.]”). These

principles inform the Receiver’s response to the Motion.

        The Receivership Order provides in relevant part:

                The Receiver is authorized to act through and in the name of the
                Company to carry out his duties. The Receiver is authorized to
                execute and deliver (or cause to be executed and delivered) any
                document in the name of the Company, including but not limited to,
                contracts, deeds, other documents of title, and regulatory,
                administrative, and other governmental filings.

Receivership Order at II(3) (emphasis added). The Receiver understands that the Company’s

authorization may be required in order to convert an ADR holder’s ADRs into shares of the

Company and that (in the ordinary course of business) the Company would typically provide such

authorization. In the Receiver’s view, such authorization is an “administrative” act that the

Receiver has the authority to carry out on behalf of the Company under the above-quoted provision

of the Receivership Order. In the ordinary course, the Receiver would typically provide such

authorization on behalf of the Company without seeking a court order.

        In this case, however, multiple considerations lead the Receiver to seek the Court’s

authorization, including: (i) Plaintiff’s standing to assert derivative claims is a central issue in this

litigation; (ii) defendant Shi filed a motion to discharge the Receivership, which was premised on

the assumption that Plaintiff lacks standing to assert derivative claims, see (ECF 183); and (iii)

Plaintiff’s counsel has informed the Court that Plaintiff may seek leave to amend his complaint to

assert derivative claims if he is permitted to convert his ADRs (ECF 195). Because the conversion

of Plaintiff’s shares implicates these significant questions that are currently pending before the

Court, and as the Receiver’s authority is derived entirely from the Court, the Receiver respectfully

awaits direction from the Court on whether the Receiver has the authority to authorize the

conversion of Plaintiff’s ADRs.
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Dated: December 18, 2020              SEIDEN LAW GROUP LLP
       New York, New York

                                   By: /s/ Amiad Kushner
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                              CERTIFICATE OF SERVICE

       I, Amiad Kushner, certify that I electronically filed the Receiver’s Response to

Plaintiff’s Motion for Receiver to Effectuate Conversion of Plaintiff’s ADR with the Clerk of

the Court using the CM/ECF system which will send notification of such filing to the parties

of record on this 18 day of December, 2020.


                                              /s/ Amiad Kushner
                                                 Amiad Kushner
